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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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                                          in TXSDon 09/09/16
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
                                    Filed     Filed
                                          in TXSDon 09/09/16
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 Case
Case 25-90138
       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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 Case
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
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                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
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                    Document    Filed
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
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                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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       2:16-cv-04840-WB
                Document
     4:13-cv-01449       25-11
                          Document
                    Document    Filed
                             33-6    1-10
                                       in TXSB
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     25-90138
       2:16-cv-04840-WB
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                          Document
                              Filed in
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                                       TXSBFiled
                                            on 06/02/25
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  Case
     25-90138
       2:16-cv-04840-WB
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                              Filed in
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     25-90138
       2:16-cv-04840-WB
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                              Filed in
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                                       TXSBFiled
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  Case
     25-90138
       2:16-cv-04840-WB
               Document 25-11
                          Document
                              Filed in
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                                       TXSBFiled
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  Case
     25-90138
       2:16-cv-04840-WB
               Document 25-11
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                              Filed in
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                                       TXSBFiled
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  Case
     25-90138
       2:16-cv-04840-WB
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                              Filed in
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